Case 3:17-cv-00072-NKM-JCH Document 270 Filed 03/14/18 Page 1 of 1 Pageid#: 1952




                          IN Tc UM TED STA TES DISTR IC T C OU RT
                          FOR THE W ESTERN DISTRJCT OF VIRGIM A
                                CH ARLO TTESV ILLE DIV ISION

   Elizabeth Sines etal,

                           Plaintiffts)
   V.                                                 CivilA ction N 0.3:17-cv-00072

   Jason K essler etaI,

                            Defendantts).         )

                                CLERK 'S ENTRY OF DEFAULT

          TheaboveactionwasfiledinthisCourton'
                                             October            11, 2017.   TheDefendantts)Fraternal
   Order ofthe A lt-Knights waù/w ere served on the follow ing dates,and the Plaintiffhasprovided
   to the courtan ax davit and/or otherevidence dem onstrating properservice ofthe complaintcn
   Defendantts):

   FraternalOrderoftheAlt-Knights                 Decem ber21,2017and January 5,2018


          Thetimeforthedefendantts)toappear,answerorothem isedefendhaving expired,the
   tmdersignedClerk doesherebyenter.defaultastothefollowingdefendantts):
                              FraternalOrderoftheAlt-Knights

          SeeFederalRulesofCivilProcedure,Rule55(a).
          CopiesofthisEntry ofDefalzltshallbeprovided toa1lcotmselofrecord andtothe
   Defendantts).

                                                      JULIA C.D UDLEY ,CLERK ,


                                                      By:
                                                            D     uty lerk
